(+
FILED

UNITED STATES DISTRICT COURT JAN 27 2020 Ac
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION THOMAS G. BRUTON

CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA

: 1=20CR 56

Violations: 18 U.S.C. § 666(a)(1)(B) and
26 U.S.C. § 7206(1)

JUDGE WOOD

MAGISTRATE JUDGE HARJANI
The UNITED STATES ATTORNEY charges:

MARTIN A. SANDOVAL

COUNT ONE

Beginning in or around 2016, and continuing until in or around September

2019, at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,
MARTIN A. SANDOVAL,

defendant herein, as an agent of the State of Illinois, namely, a State Senator and
Chairman of the Senate Transportation Committee, which received in excess of
$10,000 in federal benefits during the period from January 1, 2018 through December
31, 2018, corruptly solicited, demanded, agreed to accept, and accepted things of
value, namely, money, intending to be influenced and rewarded in connection with a
business, transaction, and series of transactions of the State of Illinois involving a
thing of value of $5,000 or more, namely, continued support for the operation of red-
light cameras in the State of Illinois, including opposing legislation adverse to the

interests of the red-light-camera industry;

In violation of Title 18, United States Code, Section 666(a)(1)(B).
COUNT TWO
The UNITED STATES ATTORNEY further charges:

On or about October 12, 2018, at Chicago, in the Northern District of Illinois,

Eastern Division, and elsewhere,
MARTIN A. SANDOVAL,

defendant herein, willfully made and subscribed, and caused to be made and
subscribed, a United States Individual Income Tax Return (Form 1040 with
schedules and attachments) for the calendar year 2017, which return was verified by
written declaration that it was made under penalties of perjury and was filed with
the Internal Revenue Service, which return he did not believe to be true and correct
as to every material mater, in that said return reported on Line 22 that the total
income was $125,905, when defendant knew that the total income substantially

exceeded that amount;

In violation of Title 26, United States Code, Section 7206(1).

 

UNITED STATES ATTORNEY

bo
